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Mch 5/10/2021 JTM: USAO2021R00252
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA CRIMINAL NO. SLE Zler to \

v. (Sexual Exploitation of a Minor, 18 U.S.C.
§§ 225i(a) and (e); Coercion and
MATTHEW K. WALSH, Enticement, 18 U.S.C. §§ 2422(b) and
, 2427; Receipt of Child Pornography 18
Defendant. U.S.C. § 2252A(a)(2); and Forfeiture, 18
U.S.C. §§ 2253, and 2428, 21 U.S.C. §
853(p)) -

SH An
INDICTMENT | 3 ea

 

Counts One and Two ‘ ae
(Sexual Exploitation of a Minor) \ ¥ “7. MN
2

The Grand Jury for the District of Maryland charges that:

At all times material to this Indictment:

General Allegations

 

1, MATTHEW K. WALSH (“WALSH”) was born in 1997, and resided in

Baltimore, Maryland.

2. Victim #1 was a 14 and 15-year-old male, and was a resident of Baltimore,
Maryland.

3, Victim #2 was a 15-year-old male, and was a resident of Howard County, .
Maryland.

4. Beginning no later than November of 2019, WALSH used text messaging,
Instagram (an internet-based social media company), as well as Snapchat (a messaging application
for mobile devices) to communicate with other social media and mobile device users via the
internet. WALSH often posed as a minor female and used the aliases “Linamarie” or “Mariel” on

Instagram and “lslow6_5” on Snapchat and to meet and communicate online with minor males.
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5. WALSH used the “Linamarie,” “Mariel” and “lslow6_5” accounts to persuade,
induce, entice and coerce minor males, including Victim #1 and Victim #2, to engage in sexually
explicit conduct. During these internet-based communications, WALSH caused, and attempted
to cause, these minor males to produce images of themselves that depicted the lascivious display
of their genitals.

The Charges

6. On or about the dates listed below, each instance being a separate count, in the

District of Maryland and elsewhere, the defendant, |

MATTHEW K. WALSH,

did employ, use, persuade, induce, entice, and coerce the victims listed below, each of whom was
then less than 18 years old, to engage in sexually explicit conduct, as defined in Title 18, United
States Code, Section 2256(2), for the purpose of producing any visual depiction of such conduct,
knowing and having reason to know that such visual depiction would be transported and
transmitted using any means and facility of interstate and foreign commerce, and such visual
depictions have actually been transported and transmitted using any means and facility of interstate
and foreign commerce and in and affecting interstate or foreign commerce, and attempted to do

so, as follows:

 

 

Count Date Details
On or about WALSH, using Instagram and Snapchat, caused the
November 4, 2019 =| production of a series of visual depictions, which included
] through on or about | three video depictions of Victim #1 masturbating and one

December 23, 2020 | video depiction of Victim #1 digitally penetrating his anus
(video files described, in part, as “Vont”)

 

On or about March 8, | WALSH, using Instagram, Snapchat, and text messaging,

2020 through on or | caused the production of a series of visual depictions which
about March 12, 2020 | included the depiction of Victim #2 masturbating (video file
described, in part, as “IMG _9937.mov”)

 

 

 

 

 

18 U.S.C. §§ 2251(a) and (ce)
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Counts Three and Four
(Coercion and Enticement)

The Grand Jury for the District of Maryland further charges that:

1. The allegations set forth in paragraphs one through five of the General Allegations
in Counts One and Two are incorporated by reference herein.

2, On or about the datés listed below, each being a separate count, in the District of
Maryland and elsewhere, the defendant, |

MATTHEW kK. WALSH,

did knowingly use, and attempt to use, a facility and means of interstate and foreign commerce to
knowingly persuade, induce, entice and coerce minors to engage in sexual activity for which any
person could be charged with a criminal offense, to wit: on the dates listed below, WALSH used
his “Linamarie,” “Mariel” and “Islow6_5” internet-based accounts to persuade, induce, entice and
coerce the minor victims indicated below, to engage in sexually explicit conduct on camera and to
send WALSH the resulting images and videos via the internet, and attempted to do so, in violation

of 18 U.S.C. §§ 2251 (a) and 2252A(a)(2), and Md. Code, Crim. Law § 11-207(a)(1), as follows:

 

 

 

 

 

 

 

Count Date - Victim
3 November 3, 2019 to December 23, 2020 Victim #1
4 March &, 2020 to March 12, 2020 Victim #2

 

18 U.S.C. §§ 2422(b) and 2427
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Counts Five and Six
(Receipt of Child Pornography)

The Grand Jury for the District of Maryland further charges that:

1. The allegations set forth in paragraphs one through five of the General Allegations
of Counts One and Two are incorporated by reference herein.

2. On or about the dates listed below, each being a separate count, in the District of
Maryland and elsewhere. the defendant,

MATTHEW K. WALSH,

did knowingly receive, and attempt to receive, any visual depiction using any means and facility
of interstate and foreign commerce, and that had been mailed and had been shipped and transported
in and affecting interstate and foreign commerce, and which contained materials which had been
so mailed, and so shipped and transported, by any means including by computer, the production
of which visual depiction involved the use of a minor engaged in sexually explicit conduct and
which visual depiction was of such conduct: to wit, WALSH used his “Linamarie,” “Mariel” and
“lslow6_4” internet-based accounts to receive visual depictions of the minor victims listed below,

engaged in sexually explicit conduct:

 

 

 

 

 

 

 

 

Count Date Victim Description

November 4, 43 images and 27 videos which included the
5 2019 to Victim #1 depictions of the lascivious display of Victim #1’s
December genitals, or Victim #1 masturbating or digitally

-23, 2020 . penetrating his anus.
ee 19 images and i video which included the depictions
6 Victim #2 —(| of the lascivious display of Victim #2’s genitals or

March 12, Le :

020 Victim #2 masturbating.

 

18 U.S.C. §§ 2252A(a)(2) and (b)(1)
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FORFEITURE ALLEGATION

The Grand Jury for the District of Maryland further finds that:

I. Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to the
defendant that the United States will seek forfeiture as part of any sentence in accordance with 18
ULS.C. §§ 1467, 2253, and 2428, 21 U.S.C. § 853(p), and 28 U.S.C. § 2461 (c), in the event of the
defendant’s convictions on any of the offense charged in Counts One — Six of this Indictment.

Sexual Exploitation of Children and Receipt of Child Pornography Forfeiture

2. Upon conviction of any of the offenses set forth in Counts One through Two and
. Five through Six of this Indictment, the defendant,

MATTHEW K. WALSH,

shall forfeit to the United States, pursuant to 18 U.S.C. § 2253(a):

a. any visual depiction described in Title 18, United States Code, Sections, 2251,
2251 A, 2252, or 2252A, 2252B, or 2260 or any book, magazine, periodical, film, videotape, or
other matter which contains any such visual depiction, which was produced, transported, mailed,
shipped, received or possessed in violation of Title 18, United States Code, Chapter 110;

b. any property, real or personal, constituting or traceable to gross profits or other
proceeds obtained from such offense; and

C. any property, real or personal, used or intended to be used to commit or to
promote the commission of such offense or any property traceable to such property.

Coercion and Enticement Forfeiture

3. Upon conviction of | the offense set forth in Counts Three and Four of this

Indictment, the defendant,

MATTHEW K. WALSH,
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shall forfeit to the United States, pursuant to 18 U.S.C. § 2428¢a):

a. any interest in any property, real or personal, that was used or intended to be
used to commit or to facilitate the commission of such violation; and

b. any property, real or personal, constituting or derived from any proceeds that
such person obtained, directly or indirectly, as a result of such violation.

Property Subject to Forfeiture
4, The property to be forfeited includes, but is not limited to, the following:

iPhone XR, S/N: DNPXN634KXKV;

Macbook Pro Laptop, S/N: CO2PRAIFFVHS5; and
c. Apple Smart Watch, Model: A2U93, S/N: FH7ZC4ZUMLTIN.

FP

Substitute Assets
5. Tf any of the property described above, as a result of any act or omission of the
defendant: |
a. cannot be located upon the exercise of due diligence;
b, has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or
e. has been commingled with other property that cannot be subdivided without

difficulty;

[SPACE INTENTIONALLY LEFT BLANK]
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the United States shall be entitled to forfeiture of substitute property pursuant to 21 U.S.C.

§ 853(p), as incorporated by 18 U.S.C. § 2253(b) and 28 U.S.C. § 2461(c).

18 U.S.C. §§ 2253, 2428
21 U.S.C. § 853(p)
28 U.S.C. § 2461(c)

AT TRUE BILL:
- a

SIGNATURE ‘REDACTED

FOREPERSON

Jonathan F. Lenzner
Acting United States Attorney

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Date
